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                                                                                                               U.S. DISTRICT COURT
                                                                                                                   N.D. OF ALABAMA

April 30, 2014




U.S.District Court For The Northern District of Alabama
Honorable Madeline Hughes Haikala, Judge
Hugo L. Black United States Courthouse
1729 Fifth Avenue, Room 319
Birmingham, Alabama


Honorable Haikala:

This letter is being written to oppose the Huntsville City Schools of Huntsville, Alabama rezoning plan in a Motion
filed 7 February 2014 (Hereford v. Huntsville Board of Education; No. 5-63-cv-00190-MHH). The Huntsville City
School System has failed for many years to provide an equitable education to its minority school age population of
the city.

While this desegregation order has been placed on Huntsville City Schools the system for over 25 years, the
Huntsville City Schools, the city of Huntsville and its leaders have found ways to neglect its obligation of meeting
the requirements of the order and the people of whom it was intended to relieve the educational imparities.

The following are my reasons for objecting to Huntsville City Schools Rezoning Plan:

            1. The "Unopposed Motion Of Defendants For Approval Of School Construction Program" submitted to
                 the U.S. Department of Justice appears to be unopposed by members of the NW Huntsville, AL
                 community., however, parties directly affected, Sonny Hereford, 111, NAACP, Black Elected Officials and
                 citizens of NW Huntsville, were not included in the HCS construction and building plans. In fact, the
                 community and those named, were totally unaware of the proposal in its entirety until after it was
                 submitted and approved by the U.S. Department of Justice on 16 May 2013.
            2.   HCS fails to sensibly and expeditiously hire teachers particularly in the predominately African
                 American schools. Five or more weeks from the commencing of the 2013-2014 school year Butler
                 High School continued without placement of a Mathematics Instructor, JO Johnson High continued
                 without placement of a Physics Instructor and Davis Hills Middle Schools continued without
                 placement of both Mathematics and English Instructors. There are numerous examples of positions
                 not adequately filled at predominately African American Schools during the school years.
            3.   African American parents have voiced grave concerns about middle and high schools in the same
                 building and HCS have totally ignored their concerns for the safety and welfare of their children. Said
                 parents are totally against this arrangement for schools in NW Huntsville, Alabama.
            4.   Placed the most unqualified teaching personnel in the predominately African American schools which
                 have major student populations with extreme learning challenges in reading and math. At least fifty
                 (50) % of those unqualified teachers quit in the first three (3) months of hire. HCS would not consider
                 as requested by the parent/citizens of placing the most experience teachers from successful schools
                 in the labeled "Failing Schools".
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      5.    HCS is closing many predominately African American schools but has reclassified/reconfigured many
            predominately Caucasian schools and positioned them not to be closed. Mt. Gap Elementary and
            Whitesburg Middle School w._s recommended by the demographer to close but instead Huntsville City
            Schools combined schools int~ one administratively and called it a Pre- K through 8th grade school at
            Whitesburg and Mt. Gap. OtHer schools on the list that were treated differently are Chapman
            Elementary, Chapman Middle, and Mont Sano Elementary. Weatherly Elementary School's enrollment
            is decreasing but HCS fails to reevaluate the potential for closure.
       6.   Huntsville City Schools is able to distort the discipline data that include the special education classes
            due to the closing of the Seldon Center/ Alternative School and out sourcing of those services to
            Pinnacle Services.
       7.   HCS has continually failed to offer equable courses for predominately African American schools
            whether it is elementary, middle or high school.
       8.   Drastic disparaging course offering at the predominately Caucasian high schools. These schools offer
            AP Honors, Cyber Security ,Debate, Microsoft IT, Graphic Arts, Robotics, Engineering, PSAT
            Preparation, Bible as History, Government and Politics, Computer and Networking, Apps
            Development, etc. and none of these courses are offered at the predominately African American high
            schools.
       9.   HCS has converted to computerized books which is similar to not having enough books for all of the
            students who attend predominately African American schools due to the lack of universal internet
            (the lack of home internet) for these same students which do not have uninterrupted access to
            lessons and books during and after school. There is an inadequate repair and replacement program
            for these students when they have damaged their computers. Often time these students go weeks
            without books or laptop to adequately make successful academic achievement.
       10. HCS has changed the racial makeup of the teachers at the predominately African American schools
            but fails to change the racial makeup of teachers at the predominately Caucasian schools such as
            Grissom High School, Huntsville High School, Whitesburg Elementary and Middle school,
            Blossomwood, etc.
       11. HCS completely segregated the predominately African American schools in organizational charts and
            the management of said schools. African American schools are reference as "Managed Schools" and
            predominately Caucasian schools are referenced as "Empowered Schools". Empowered schools are
            allowed much more flexibility in programs and opportunities than Managed Schools.
       12. HCS defunded the International Magnet Program at JO Johnson High School in which it could no
            longer offer the foreign languages of Russian, German and French. It also could no longer offer the
            Space Sciences for the Magnet Program due to defunding and the lack of efforts to employ qualified
            teachers to teach these courses.
       13. With the dismantling of the International Magnet Program HCS instituted an Esthetic and Spa
            Management Academy at JO Johnson High School which included a cosmetology course that is
            offered at the Huntsville Center of Technology and other community colleges in very close proximity.
            There was not a demand for such a program, or certification issued which is not marketable for
            employment nor was a market survey conducted to determine was it viable.
       14. The Academy of Science and Foreign Language Magnet School was constructed for students who
            desired to continue the Magnet Program at JO Johnson High School. HCS redirected the students of
            Academy of Science and Foreign Language Magnet School from JO Johnson High School to Columbia


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            High School. Columbia High School is not a magnet school nor does it have an International Magnet
            Program. HCS no longer has an High School International Magnet Program.
        15. Significantly increase the graduation rates at low performing schools in an extremely short period of
            time by not allowing teachers to fail any students.
        16. Significantly decreased the disciplinary rates at low performing schools in an extremely short period
            of time by not allowing teachers submit disciplinary problems to the school administration.

I have listed these inadequacies to show the court that Huntsville Schools has failed and continues to demonstrate
the unwillingness to provide an equitable and quality education for all children.

Huntsville City Schools and it leaders say they have attempted to meet the desegregation order in many ways but
cannot because they do not determine where its citizens choose to live. I wholly heartily dispute this claim
because a city can implement virtual processes to be orchestrated by concentrating certain citizens to specific
areas of the city. This has occurred in Huntsville over the years and continues today.

First we have to determine the parties of the orchestra and those parties are the realtors, developers and
builders, business leaders, public housing boards, rezoning boards, city leaders and lastly the school system.
Realtors artificially make housing unaffordable for certain groups of people for certain areas of the city. Realtors
red line areas and direct or redirect certain newcomers to certain areas. Developers and builders construct in
certain parts of the city and neglect other areas of the city. The list goes on about the players of the orchestra and
their actions to keep Huntsville City Schools "Segregated".

I hope my letter provides sufficient details for the court to rule against Huntsville City Schools' current motion and
provide sufficient time to further discuss with the court a new plan that would provide an equitable and quality
education for all children of the Huntsville City School System.




Submitted Respectfully,




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Cc:
Sarah Hinger
U.S. Department Of Justice


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U.S Department Of Justice




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